JS 44 (Rev: 04/21)

provided by local rules of court. This form,
purpose of initiating the civil docket sheet.

approved by the Judicial Conference of the United Sta’
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

Case 1:24-cv-00374_J RR Rosman itn iled 02/07) Qe C4 O57 4

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

tes in September 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS
Elias Costienas

County

“od TUAREE

Residence of First Listed Plaintiff Mononaalia WV.
- (EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

DC .Jail

County of Residence of First Listed Defendant

FBI, DOJ, Merrick Garland, Matthew Graves, John Does,

DC

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
N/A prro se, 3201 University Ave. Morgantown, WV
26505
I. BASIS OF JURISDICTION (Place an “X” in One Box Only) Tit. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box, for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
(L]1 US. Government [<]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Ol 1 oO 1 Incorporated or Principal Place Ol 4 Li4
of Business In This State
ol 2 U.S. Government oO 4 Diversity Citizen of Another State Ol 2 qo 2 Incorporated and Principal Place ol 5 Cl 5
Defendant (Indicate Citizenship of Parties in Item Hi) of Business In Another State
Citizen or Subject ofa C13 (1 3 Foreign Nation Cle [le
Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT, TORTS FORFEITURE/PENALTY BANKRUPTCY OTHERISTATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | {625 Dmg Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane Ol 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability ol 367 Health Care/ INTELLECTUAL || 400 State Reapportionment
oO 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS || 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act |_| 330 Federal Employers’ Product Liability $30 Patent 450 Commerce
152 Recovery of Defaulted Liability 1 368 Asbestos Personal 935 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR $80 Defend Trade Secrets [|_| 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 7 10 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
Ol 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act |_| 485 Telephone Consumer
Ll 190 Other Contract Product Liability Ol 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury Ol 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Sccurities/Commodities/
|_| 362 Personal Injury - Product Liability 75) Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI |_| 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |_]790 Other Labor Litigation [|_| 865 RSI (405(g)) | 891 Agricultural Acts
210 Land Condemnation |_| 440 Other Civil Rights Habeas Corpus: | _|791 Employee Retirement | | 893 Environmental Matters
|_| 220 Foreclosure | 441 Voting 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate r | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | | 530 General | 871 IRS—Third Party 899 Administrative Procedure
[_|290 All Other Real Property |_] 445 Amer. w/Disabilities - |_| 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -[__] 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other x | 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
EE] 1 Original 2 Removed from oO 3  Remanded from Oo 4 Reinstatedor [] 5 Transferred from 6 Multidistrict Oo 8 Multidistrict
2 Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
, (specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 USC 1983
VI. CAUSE OF ACTION Brief description of cause:
Violation of civil rights including Am. 1, 4, 5, 6, 14.
VII. REQUESTED IN [1] CHECKIF THISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. > 10,000,000 JURY DEMAND: [elves LJNo
VII. RELATED CASE(S)
‘See instructions):
IF ANY é *  UDGE DOCKET NUMBER
DATE SIGNATURE OF ATT YY OF RECORD
2i7l24 N/A acting pro se.
FOR OFFICE USE ONLY
. RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

